1     Edward J. Maney
      Chapter 13 Trustee
2     101 N. First Ave., Suite 1775
      Phoenix, Arizona 85003
3     Telephone (602) 277-3776
      ejm@maney13trustee.com
4
                               IN THE UNITED STATES BANKRUPTCY COURT
5                                      FOR THE DISTRICT OF ARIZONA

6     In re:                                           )       CHAPTER 13 PROCEEDINGS
                                                       )
7                                                      )       CASE NO. # 2: 17-10375-PS
                 JEFFREY MARTIN STEVENS,               )
8                JILL ANNETTE STEVENS,                 )       TRUSTEE'S EVALUATION AND
                                                       )       RECOMMENDATION(S) REPORT WITH
9                                                      )       NOTICE OF POTENTIAL DISMISSAL IF
                                                       )       CONDITIONS ARE NOT SATISFIED
10                                                     )       RE: CHAPTER 13 PLAN
                                       (Debtor(s)      )       Docket #2
11

12
                Edward J. Maney, Trustee, has analyzed the Debtor(s) Chapter 13 Plan and supporting
13
           documents and submits the following evaluation and recommendation(s):
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15    General requirements:

16         a.   Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
                all proofs of claim filed with the Court and resolve any discrepancies between the claims and
17              the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
                submit a copy of the Court’s Claims Register with any submission of the Order Confirming.
18
       b.       Requests by the Trustee for documents and information are not superseded by the filing of an
19
                amended plan or motion for moratorium.
20
       c.       The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21              Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.       The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                copies of their federal and state income tax returns for every year during the duration of the
23              Chapter 13 Plan. This requirement is to be included in any Order Confirming.

24     e.       The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                Order shall not constitute an informal proof of claim for any creditor.”
25
      f.        The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26              remit all payments on or before the stated due date each month. Debtor is advised that when
                payments are remitted late, additional interest may accrue on secured debts, which may result in
27              a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
                Case can be discharged. This requirement is effective regardless of Plan payments
28              suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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4      g.    At the time of confirmation, the Trustee will require the Debtors to certify that they are current
             on all required tax filings and any domestic support orders.
5
       h.    At the time of confirmation, the debtor(s) are required to certify, via language in the Order
6            Confirming, that they are current on all payments that have come due on any Domestic Support
             Orders since the filing of their case and that they are current on all required tax return
7            filings [pursuant to 11 U.S.C. §1308].
8      i.    DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
             accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
9
             Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
10           Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
             counsel.
11

12
                   (THE TRUSTEE ACCEPTS ELECTRONIC SERVICE at service@maney13trustee.com)
13

14
      Specific Recommendations:
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16
      1.     The Trustee requires the debtors supply a copy of bank statement that reveals the balance
17           on hand -- in all their bank accounts -- on the date of their filing of their case.
18    2.     Wells Fargo (2011 Honda Accord) has filed an objection to the Plan. The Trustee requires the
             objection to be resolved prior to confirmation of the Plan.
19

20    3.     The Chapter 13 Plan states that Wells Fargo (2005 Honda CR-V – claim #7), the Internal
             Revenue Service (claim #2) and the California Franchise Tax Board (claim #5) will be paid
21           amounts greater than that listed on their proofs of claim. The debtors may use the lesser claim
             amount in the Stipulated Order Confirming Plan.
22

23
              In summary, the Plan can be confirmed subject to the condition(s) noted above, adequate
24    funding, and timely filed Stipulated Order Confirming, and Court approval. The Trustee requires that
      any Stipulated Order Confirming contain the “wet” signatures from the debtors (where
25    applicable), debtors counsel and objecting creditors if there are any.           General unsecured
      creditors (including secured creditors with unsecured deficiency balances) will be paid through the
26    Trustee approximately $121,751 or an estimated 73% of related debts, subject to timely filed and
      allowed claims. Chapter 7 reconciliation requirement must be met given debtors’ scheduled equity in
27    non-exempt property at petition date. You are hereby advised that the Trustee may lodge an Order
      of Dismissal should Debtor fail to resolve item(s) #1 above and submit a Stipulated Order
28    Confirming to the Trustee for review and signature or request a hearing within 30 days from the
      date of the mailing of this Trustee's Recommendation.

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3     Date See Electronic Signature Block
                                                                                  EDWARD J. MANEY,
4                                                                                 CHAPTER 13 TRUSTEE

5

6

7                                                                                                    Digitally signed by
8                                                                            Edward J.               Edward J. Maney,
                                                                                                     Esq.
9
                                                                   By:
                                                                             Maney, Esq.             Date: 2017.11.21
                                                                                _______________________________
10                                                                                                   14:13:16 -07'00'
                                                                                 Edward J. Maney ABN 12256
11                                                                                CHAPTER 13 TRUSTEE
                                                                                  101 North First Ave., Suite 1775
12                                                                                Phoenix, Arizona 85003
                                                                                  (602) 277-3776
13                                                                                ejm@maney13trustee.com
       Copies of the forgoing
14     mailed on [see electronic signature],
       to the following:
15

16
       Jeffrey Stevens
17     Jill Stevens
       20906 North 39th Way
18     Phoenix, Arizona 85050
       Debtors
19

20     LERNER & ROWE
       2701 E. Camelback Rd.
21     Suite #130
       Phoenix, Arizona 85016
22     Debtors’ counsel

23

24

25

26                                         Digitally signed by Jackie Garcia


                Jackie Garcia
                                           DN: cn=Jackie Garcia, o=Edward J. Maney,
                                           Trustee, ou=File Clerk,
27                                         email=jgarcia@maney13trustee.com, c=US
       By:                                 Date: 2017.11.22 10:33:11 -07'00'

28            Trustee’s Clerk


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